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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  JOHN DOE,

                            Plaintiff,             Civ. A. No. 3:16-cv-04882-BRM-TJB

                   v.

  RIDER UNIVERSITY,

                            Defendant.


        DECLARATION OF ANGELO A. STIO, III IN SUPPORT OF THE
             PARTIES' JOINT MOTION TO SEAL MATERIAL


                   ANGELO A. STIO, III hereby declares, pursuant to 28 U.S.C. § 1746,

  as follows:

                   1. I am an attorney-at-law licensed to practice in the State of New

  Jersey and a partner in Pepper Hamilton LLP's New Jersey office, located at Suite

  400, 301 Carnegie Center, Princeton, New Jersey 08543. Pepper Hamilton is

  counsel for Defendant Rider University in this matter.
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               2. I submit this declaration in support of the parties' Joint Motion to

  Seal Material pursuant to Local Civil Rule 5.3( c). I have confe1Ted with Plaintiffs

  counsel and they have advised me that I am authorized to submit this declaration in

  support of the Joint Motion to Seal Material.


               3. This case arises from an investigation and disciplinary hearing

  into an allegation of sexual assault involving Plaintiff John Doe and a female

  student referred to in the Amended Complaint as Jane Roe. Jane Roe is not a party

  to this case. The matter also involves other Rider students who were witnesses

  during the disciplinary hearing, but are not parties to this case.


               4. The parties have filed the following un-redacted documents in this

  case under seal: (1) Defendant Rider University's Memorandum of Law in

  Support of its Motion to Dismiss Counts III, IV and V of Plaintiffs Amended

  Complaint; and (2) Plaintiffs Response in Opposition to Defendant's Motion to

  Dismiss Amended Complaint. Redacted versions of the aforementioned

  documents were filed for public review. (See Dkt. Nos. 42 and 45).


               5. On October 31, 2018, the Court issued an Opinion resolving the

  Motion to Dismiss. (Dkt. 60). That Opinion relies upon and references

  confidential information contained in the parties un-redacted briefs. Attached as

  Exhibit 1 is a redacted version of the Court's Opinion that the parties request the



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  Court utilize as the public version of the Court's Opinion. The redacted version

  removes from public disclosure references to educational records of students who

  are not parties to this case.


                 6. Counsel for the parties have met and conferred about the sealing

  requested in this motion and agree that the un-redacted materials identified in

  paragraph 4 of this Declaration, as well as the sealing of portions of the Court's

  October 31, 2018 Opinion identified in paragraph 5, should occur in order to

  prevent the public disclosure of such information, which is expressly protected

  under the Family Educational Rights and Privacy Act (FERP A), 20 U.S.C. §

  1232g.


                 7. FERP A protects the privacy of students by prohibiting the

  disclosure of education records that contain information "directly related to a

  student," including their name, address, or "other information that, alone or in

  combination, is linked or linkable to a specific student that would allow a

  reasonable person in the school community, who does not have personal

  knowledge of the relevant circumstances, to identify the student with reasonable

  certainty" to an unauthorized individual. See generally 20 U.S.C. § 1232g; 34

  C.F.R. 99.3.




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               8. The un-redacted materials identified in paragraph 4 of this

  Declaration, and portions of the Court's Opinion identified in paragraph 5 of this

  Declaration, should remain sealed because they contain ( 1) highly sensitive and

  personal identifying information regarding a sexual encounter involving a non-

  party student to this case, and/or (2) education records of other Rider students (also

  not parties to this case) involved in the University's investigation and hearing

  process.


               9. Attached as Exhibit 2 is a chart containing the information required

  for a motion to seal, and which sets forth the information the parties seek to seal as

  contained in the documents listed on the chart. Since the Court's Opinion relies

  upon the documents referenced above, the parties request that it be sealed as well.


               10. Plaintiffs counsel consents to and joins in the relief requested

  through this motion.


               Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of

  perjury that the foregoing is true and correct.



  Executed on November 12, 2018.




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